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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                                                                       2GI9MAR 19      iiJUQ:3L
                                       AUSTIN DIVISION

 COMMUNITY FINANCIAL SERVICES
 ASSOCIATION OF AMERICA, LTD.
 AND CONSUMER SERVICE
 ALLIANCE OF TEXAS,
                 PLAINTIFFS,

 V.                                                              CAUSE NO. A-18-CV-0295-LY

 CONSUMER FINANCIAL
 PROTECTION BUREAU AND
 KATHLEEN KRANINGER, IN HER
 OFFICIAL CAPACITY AS DIRECTOR,
 CONSUMER FINANCIAL
 PROTECTION BUREAU,
                 DEFENDANTS.

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          Before the court is the above styled and numbered cause.' The court stayed litigation in this

action and stayed the compliance date of August 19, 2019, for the Consumer Financial Protection

Bureau's ("Bureau") "Payday, Vehicle Title, and Certain High-Cost Installment Loans" rule

("Rule").    See   82 Fed. Reg. 54,472 (Nov. 17, 2017). Additionally, the court ordered the parties to

file periodic joint status reports informing the court about proceedings related to the Rule and this

action.

          Pending before the court are the parties' periodic Joint Status Reports dated March    1   and

March 8, 2019 (Clerk's Document Nos. 56 & 57). The parties inform the court that the Bureau

recently initiated a rulemaking process that revisits one aspect of the Rulethe underwriting




           Kathleen Kraninger was sworn in as the Director of the Consumer Financial Protection
Bureau in December 2018. Therefore, Kraninger is substituted for Michael Mulvaney as a party in
this action. See Fed. R. Civ. P. 25(d).
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provisionsbut not the payment provisions of the Rule. See 84 Fed. Reg. 4252 (Feb. 14, 2019)

(proposing to rescind underwriting provisions); 84 Fed. Reg. 4298 (Feb. 14, 2019) (proposing to

delay compliance date for underwriting provisions).

        The parties agree that: (1) the August 19, 2019 compliance date for the underwriting

provisions should continue to be stayed; and if the court is inclined to do so, then (2) it is also

appropriate to continue to stay litigation with regard to Plaintiffs' challenges to the Rule's

underwriting provisions. Further, at this juncture, neither party seeks to lift the stay of the litigation

or the stay of the compliance date for the payment provisions

        The parties however disagree about how long the litigation stay and the compliance-date stay

should continue with regard to the payments provisions of the Rule. Plaintiffs propose that the court

maintain both of the stays until the Bureau completes the current rulemaking process for the Rule's

underwriting provisions. The Bureau disagrees with Plaintiffs' proposal, suggesting that a more

limited stay of litigation is warranted. The Bureau refers the court to the fact that a case presenting

a challenge similar to Plaintiffs' constitutional challenge to the structure   of the Bureau is pending

before the Fifth Circuit. See Consumer Fin. Protection Bureau v. A11Am. Check Cashing, Inc.,No.

18-60302 (Fifth Cir.) (oral argument March 12, 2019). The Bureau proposes that it would be

appropriate to continue the stay of litigation challenging the Rule's payments provisions only until

the Circuit renders its decision in All American Check Cashing.

        With regard to the stay of the compliance date, the Bureau's position is that, at the current

time, no party is seeking to lift the compliance-date stay for the payments provisions. However,

should the Bureau do so in the future, the Bureau suggests that Plaintiffs at that time would only be

entitled to a stay if Plaintiffs can show various factors, including a likelihood of success on the


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merits, or at least a "substantial case on the merits." Weingarten Realty Investors v. Miller, 661 F.3 d

904, 901 (5th Cir. 2011).

        Having considered the case file, the Joint Status Reports filed May     1   and 8, 2019, and the

applicable law,

        IT IS ORDERED that the stay of litigation and the stay of the August 19, 2019, compliance

date are continued in full force and effect.

        IT IS FURTHER ORDERED that the parties file a Joint Status Report informing the court

about proceedings related to the Rule and this litigation as the parties deem appropriate, but no later

than Friday, May 17, 2019.

        SIGNED this                    day of March, 2019.




                                                   ITED STA       S   DISTRICT JUDGE
